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       EXHIBIT B
        Case 3:24-cv-00211-CRS           Document 31-2             Filed 04/11/25     Page 2 of 5 PageID #: 235




From:                              Salomon, Jon <jon.salomon@dentons.com>
Sent:                              Monday, March 24, 2025 4:38 PM
To:                                Palmer-Ball, Matthew
Cc:                                Cummins, John R.
Subject:                           RE: Bingham v. Kentucky Foundation for Women, 3:24-CV-211-CRS




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and were expecting this message.

Matt,

We have already responded to your unfounded "concerns," and explained in detail why they are not grounded in fact, and
further why no conflict of interest exists. You have failed to offer any substantive response to my letter, and instead
suggest obliquely that our "response has not assuaged [y]our concerns."

As I am sure you are aware, motions to disqualify are disfavored, and the moving party bears the burden of persuasion
and proof. We are not required to disprove your baseless allegations — and moreover, I am unsure what type of
documents you believe "would mitigate against a conflict" where you have plainly failed to identify any actual conflict in the
first instance.

In any event, I will plan to see you via Zoom at 2:00 p.m. on Wednesday for our long overdue Rule 26(f) conference.

Jon Salomon
Partner

   +1 502 587 3651 I 0 +1 502 762 5000
Louisville

 DEN TONS




From: Palmer-Ball, Matthew <mpalmerball@wyattfirm.com>
Sent: Friday, March 21, 2025 2:50 PM
To: Salomon, Jon <jon.salomon@dentons.com>
Cc: Cummins, John R. <john.cummins@dentons.com>; Baughman, Brent R. <brent.baughman@dentons.com>
Subject: RE: Bingham v. Kentucky Foundation for Women, 3:24-CV-211-CRS

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Jon,

While your speculation regarding the intentions and timing of my e-mail below could warrant a lengthier
response, suffice it to say—your judgment is incorrect. I will see you at the second iteration of our Rule
26 conference as planned.

Your response has not assuaged our concerns. We will consider whether to move to disqualify
Dentons. Please let me know if you possess any documents that would mitigate against a

                                                               1
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conflict. Obviously, a motion for disqualification would affect the course of discovery, but we can
discuss that next week.

Matt


Matthew R. Palmer-Ball
(502) 562-7141



       From: Salomon, Jon <ion.salomon@dentons.com>
       Sent: Thursday, March 20, 2025 2:47 PM
       To: Palmer-Ball, Matthew <mpalmerball@wyattfirm.com>
       Cc: Cummins, John R. <iohn.cummins@dentons.com>; Baughman, Brent R. <brent.baughman@dentons.com>
       Subject: RE: Bingham v. Kentucky Foundation for Women, 3:24-CV-211-CRS



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       sender and were expecting this message.

       Matt,

       Please see the attached correspondence in response to your below email.

       Jon Salomon
       Partner

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       Louisville

        DENTONS




       From: Palmer-Ball, Matthew <mpalmerball wyattfirm.com>
       Sent: Monday, March 17, 2025 11:48 AM
       To: Salomon, Jon <ion.salomon@dentons.com>; Cummins, John R. <john.cummins@dentons.com>; Baughman,
       Brent R. <brent.baughman@dentons.com>
       Subject: Bingham v. Kentucky Foundation for Women, 3:24-CV-211-CRS

       [WARNING: EXTERNAL SENDER]

       ion, John, and Mr. Baughman,

       I recently learned that, prior to March 18, 2024, Dentons Bingham Greenbaum LLP was the
       Kentucky Foundation for Women's long-time outside counsel and advised the Foundation on
       many issues central to the above-captioned case. Those issues included, but were not
       necessarily limited to, Hopscotch House and the surrounding real property, disagreements with
       Ms. Bingham about the use of the land surrounding Hopscotch House, Ms. Bingham's attempts to
       buy Hopscotch House, conservation, Ms. Bingham's attempt to secure a right of first refusal
       regarding Hopscotch House, and an incident that is the basis for one of the Foundation's
                                                            2
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  defamation claims against Ms. Bingham in this case. Furthermore, it is my understanding that
  Dentons concurrently served as counsel to Ms. Bingham for some or all of those issues. As far as
  I am aware, Dentons never advised the Foundation about conflicts of interest with Ms. Bingham or
  secured a waiver of conflicts from the Foundation. Mr. Baughman wrote to the Foundation on
  March 18, 2024, purporting to "terminat[e]" Dentons's attorney-client relationship with the
  Foundation, just 11 days before your firm filed the Complaint in this case and only 13 days after
  Dentons and the Foundation communicated about Ms. Bingham's defamatory statements.

  It would appear that Dentons's representation of Ms. Bingham in this case and the prior
  concurrent representations of Ms. Bingham and the Foundation violated one or more of SCR
  3.130(1.7), 3.130(1.8), and 3.130(1.9). However, acknowledging that you may have information
  that I do not, I wanted to ask you to explain if you believe there is not an irreparable conflict of
  interest for Dentons in this case. Please respond as soon as possible.

  In the meantime, please preserve all physical and electronic records related to your firm's prior
  representation of the Foundation, including but not limited to internal and external
  communications, client documents and information, work product, billing information, invoices,
  and engagement letters. Please also preserve any internal firm communications, or
  communications with Ms. Bingham, her agents, and her family, related to possible or actual
  conflicts of interest with the Foundation and/or the termination of the Foundation of a client.

  Matt

  Matthew R. Palmer-Ball

  Wyatt, Tarrant & Combs, LLP
  400 West Market Street
  Suite 2000
  Louisville, KY 40202-2898
  Tel: (502) 562-7141
  Fax: (502) 589-0309
  Email: mpaimerball012wyattfirm.com


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